Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 1 of 68 PageID #:
                                   35387




                                                                         119317
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 2 of 68 PageID #:
                                   35388




                                                                         119318
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 3 of 68 PageID #:
                                   35389




                                                                         119319
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 4 of 68 PageID #:
                                   35390




                                                                         119320
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 5 of 68 PageID #:
                                   35391




                                                                         119321
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 6 of 68 PageID #:
                                   35392




                                                                         119322
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 7 of 68 PageID #:
                                   35393




                                                                         119323
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 8 of 68 PageID #:
                                   35394




                                                                         119324
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 9 of 68 PageID #:
                                   35395




                                                                         119325
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 10 of 68 PageID #:
                                    35396




                                                                          119326
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 11 of 68 PageID #:
                                    35397




                                                                          119327
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 12 of 68 PageID #:
                                    35398




                                                                          119328
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 13 of 68 PageID #:
                                    35399




                                                                          119329
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 14 of 68 PageID #:
                                    35400




                                                                          119330
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 15 of 68 PageID #:
                                    35401




                                                                          119331
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 16 of 68 PageID #:
                                    35402




                                                                          119332
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 17 of 68 PageID #:
                                    35403




                                                                          119333
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 18 of 68 PageID #:
                                    35404




                                                                          119334
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 19 of 68 PageID #:
                                    35405




                                                                          119335
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 20 of 68 PageID #:
                                    35406




                                                                          119336
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 21 of 68 PageID #:
                                    35407




                                                                          119337
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 22 of 68 PageID #:
                                    35408




                                                                          119338
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 23 of 68 PageID #:
                                    35409




                                                                          119339
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 24 of 68 PageID #:
                                    35410




                                                                          119340
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 25 of 68 PageID #:
                                    35411




                                                                          119341
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 26 of 68 PageID #:
                                    35412




                                                                          119342
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 27 of 68 PageID #:
                                    35413




                                                                          119343
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 28 of 68 PageID #:
                                    35414




                                                                          119344
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 29 of 68 PageID #:
                                    35415




                                                                          119345
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 30 of 68 PageID #:
                                    35416




                                                                          119346
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 31 of 68 PageID #:
                                    35417




                                                                          119347
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 32 of 68 PageID #:
                                    35418




                                                                          119348
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 33 of 68 PageID #:
                                    35419




                                                                          119349
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 34 of 68 PageID #:
                                    35420




                                                                          119350
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 35 of 68 PageID #:
                                    35421




                                                                          119351
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 36 of 68 PageID #:
                                    35422




                                                                          119352
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 37 of 68 PageID #:
                                    35423




                                                                          119353
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 38 of 68 PageID #:
                                    35424




                                                                          119354
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 39 of 68 PageID #:
                                    35425




                                                                          119355
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 40 of 68 PageID #:
                                    35426




                                                                          119356
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 41 of 68 PageID #:
                                    35427




                                                                          119357
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 42 of 68 PageID #:
                                    35428




                                                                          119358
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 43 of 68 PageID #:
                                    35429




                                                                          119359
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 44 of 68 PageID #:
                                    35430




                                                                          119360
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 45 of 68 PageID #:
                                    35431




                                                                          119361
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 46 of 68 PageID #:
                                    35432




                                                                          119362
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 47 of 68 PageID #:
                                    35433




                                                                          119363
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 48 of 68 PageID #:
                                    35434




                                                                          119364
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 49 of 68 PageID #:
                                    35435




                                                                          119365
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 50 of 68 PageID #:
                                    35436




                                                                          119366
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 51 of 68 PageID #:
                                    35437




                                                                          119367
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 52 of 68 PageID #:
                                    35438




                                                                          119368
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 53 of 68 PageID #:
                                    35439




                                                                          119369
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 54 of 68 PageID #:
                                    35440




                                                                          119370
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 55 of 68 PageID #:
                                    35441




                                                                          119371
         Case 4:19-cv-00358-ALM                  Document 789-4 Filed 03/26/25                      Page 56 of 68 PageID #:
                                                            35442

To:                   Hershey Chocolate & Confectionery Corpor ETC. (lduquette@hersheys.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 77809223 - N/A
Sent:                 11/24/2009 11:05:43 AM
Sent As:              ECOM116@USPTO.GOV
Attachments:



              IMPORTANT NOTICE REGARDING YOUR TRADEMARK APPLICATION

Your trademark application (Serial No. 77809223) has been reviewed. The examining attorney assigned by the
United States Patent and Trademark Office (“USPTO”) has written a letter (an “Office action”) on 11/24/2009 to
which you must respond (unless the Office letter specifically states that no response is required). Please follow these
steps:

1.         Read           the          Office      letter         by          clicking          on            this           link
http://tmportal.uspto.gov/external/portal/tow?DDA=Y&serial_number=77809223&doc_type=OOA&mail_date=20091124 OR go to
http://tmportal.uspto.gov/external/portal/tow and enter your serial number to access the Office letter. If you have difficulty accessing the
Office letter, contact TDR@uspto.gov.

PLEASE NOTE: The Office letter may not be immediately available but will be viewable within 24 hours of this e-mail notification.

2. Contact the examining attorney who reviewed your application if you have any questions about the content of the Office letter (contact
information appears at the end thereof).

3. Respond within 6 months, calculated from 11/24/2009 (or sooner if specified in the Office letter), using the Trademark Electronic Application
System (TEAS) Response to Office Action form. If you have difficulty using TEAS, contact TEAS@uspto.gov.

                                                                      ALERT:

Failure to file any required response by the applicable deadline will result in the ABANDONMENT (loss) of your application.

Do NOT hit “Reply” to this e-mail notification, or otherwise attempt to e-mail your response, as the USPTO does NOT accept e-mailed
responses.




                                                                                                                              119372
           Case 4:19-cv-00358-ALM                       Document 789-4 Filed 03/26/25                                  Page 57 of 68 PageID #:
                                                                   35443

*** User:jdwyer1 ***
# Total       Dead      Live       Live      Status/    Search
    Marks     Marks     Viewed     Viewed    Search
                        Docs       Images    Duration
01 597        N/A       0          0         0:14       ("hershey chocolate & confectionery" or "hershey chocolate and confectionery")[ow] and "live"[ld]
02 15851      N/A       0          0         0:01       "261102"[dc] and "live"[ld] not 1
03 10018      N/A       0          0         0:01       "261120"[dc] and "live"[ld] not 1
04 2675       N/A       0          0         0:01       2 and 3
05 200421     N/A       0          0         0:03       ("030" or a or b or 200)[ic]
06 187        0         2          187       0:01       4 and 5

Session started 11/19/2009 7:56:34 AM
Session finished 11/19/2009 7:59:49 AM
Total search duration 0 minutes 21 seconds
Session duration 3 minutes 15 seconds
Defaut NEAR limit=1ADJ limit=1



Sent to TICRS as Serial Number: 77809223




                                                                                                                                                      119373
           Case 4:19-cv-00358-ALM                        Document 789-4 Filed 03/26/25                                Page 58 of 68 PageID #:
                                                                    35444


From:                    TMDesignCodeComments
Sent:                    Tuesday, August 25, 2009 00:18 AM
To:                      XXXX
Subject:                 Notice of Design Search Code for Serial Number: 77809223

ATTORNEY REFERENCE NUMBER:



The USPTO may assign design search codes, as appropriate, to new applications and renewed registrations to assist in searching the USPTO database for conflicting marks.
They have no legal significance and will not appear on the registration certificate.

DESIGN SEARCH CODES are numerical codes assigned to figurative, non-textual elements found in marks. For example, if your mark contains the design of a flower, design
search code 05.05 would be assigned to your application. Design search codes are described on Internet Web page http://www.uspto.gov/tmdb/dscm/index.html.

Response to this notice is not required; however, to suggest additions or changes to the design search code(s) assigned to your mark, please e-mail
TMDesignCodeComments@USPTO.GOV. You must reference your application serial number within your request. The USPTO will review the proposal and update the
record, if appropriate. For questions, please call 1-800-786-9199 to speak to a Customer Service representative.

The USPTO will not send any further response to your e-mail. Check TESS in approximately two weeks to see if the requested changes have been entered. Requests
deemed unnecessary or inappropriate will not be entered.

Design search codes assigned to the referenced serial number are listed below.
DESIGN SEARCH CODES:

26.11.02 - Plain single line rectangles
26.11.02 - Rectangles (single line)
26.11.20 - Rectangles inside one another




                                                                                                                                                    119374
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 59 of 68 PageID #:
                                    35445




                                                                          119375
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 60 of 68 PageID #:
                                    35446




                                                                          119376
              Case 4:19-cv-00358-ALM                      Document 789-4 Filed 03/26/25                       Page 61 of 68 PageID #:
                                                                     35447

PTO Form 1478 (Rev 9/2006)
OMB No. 0651-0009 (Exp 12/31/2011)


                                     Trademark/Service Mark Application, Principal Register
                                                              TEAS Plus Application
                                                                    Serial Number: 77809223
                                                                    Filing Date: 08/20/2009

   NOTE: Data fields with the * are mandatory under TEAS Plus. The wording "(if applicable)" appears where the field is only mandatory
                                               under the facts of the particular application.




                                                      The table below presents the data as entered.

                  Input Field                                                           Entered
           TEAS Plus                  YES
           MARK INFORMATION
           *MARK                      \\TICRS\EXPORT7\IMAGEOUT7 \778\092\77809223\xml1\FT K0002.JPG
           *SPECIAL FORM              YES
           USPTO-GENERATED
                                      NO
           IMAGE

           *COLOR MARK                NO
           *COLOR(S)
           CLAIMED
           (If applicable)

           *DESCRIPTION OF
           THE MARK                   The mark consists of twelve (12) equally-sized recessed rectangular panels arranged in a four panel by three
           (and Color Location, if    panel format with each panel having its own raised border within a large rectangle.
           applicable)

           PIXEL COUNT
                                      YES
           ACCEPTABLE

           PIXEL COUNT                640 x 272
           REGISTER                   Principal
           APPLICANT INFORMATION
           *OWNER OF MARK             Hershey Chocolate & Confectionery Corporation
           *STREET                    4860 Robb Street, Suite 204
           *CITY                      Wheat Ridge
           *STATE
           (Required for U.S.         Colorado
           applicants)

           *COUNTRY                   United States
           *ZIP/POSTAL CODE
           (Required for U.S.         80033
           applicants only)

           PHONE                      717-534-7911
           FAX                        717-534-7549
           EMAIL ADDRESS              XXXX

                                                                                                                                       119377
 Case 4:19-cv-00358-ALM                  Document 789-4 Filed 03/26/25                      Page 62 of 68 PageID #:
                                                    35448

AUTHORIZED TO
COMMUNICATE          Yes
VIA EMAIL

LEGAL ENTITY INFORMATION
*TYPE                CORPORATION
* STATE/COUNTRY
OF                   Delaware
INCORPORATION

GOODS AND/OR SERVICES AND BASIS INFORMATION
* INTERNATIONAL
                     030
CLASS

IDENTIFICATION       Candy; Chocolate
*FILING BASIS        SECTION 1(a)
  FIRST USE
                     At least as early as 12/31/1968
ANYWHERE DATE

  FIRST USE IN
                     At least as early as 12/31/1968
COMMERCE DATE

   SPECIMEN
                     \\TICRS\EXPORT7\IMAGEOUT7 \778\092\77809223\xml1\FT K0003.JPG
   FILE NAME(S)

   SPECIMEN
                     Digital photograph of actual product evidencing use of the mark
DESCRIPTION

ADDITIONAL STATEMENTS SECTION
*TRANSLATION
(if applicable)

*
TRANSLITERATION
(if applicable)

*CLAIMED PRIOR
REGISTRATION         The applicant claims ownership of U.S. Registration Number(s) 3668662.
(if applicable)

*CONSENT
(NAME/LIKENESS)
(if applicable)

*CONCURRENT USE
CLAIM
(if applicable)

SECTION 2(f) BASED
                     The mark has become distinctive of the goods/services, as demonstrated by the attached evidence.
ON EVIDENCE

   2(f) EVIDENCE FILE NAME(S)

   ORIGINAL PDF
                     e2f-168133239-150552750_._HERSHEY_S_MC_BAR_PRODUCT_CONFIGURATION_EVIDENCE.pdf
FILE

   CONVERTED
PDF FILE(S)          \\TICRS\EXPORT7\IMAGEOUT7\778\092\77809223\xml1\FTK0004.JPG
   (1 page)

                     The mark has become distinctive of the goods/services through the applicant's substantially exclusive and
SECTION 2(f)
                     continuous use in commerce for at least the five years immediately before the date of this statement.
CORRESPONDENCE INFORMATION
*NAME                Lois B. Duquette
FIRM NAME            The Hershey Company
*STREET              100 Crystal A Drive


                                                                                                                      119378
 Case 4:19-cv-00358-ALM                   Document 789-4 Filed 03/26/25                Page 63 of 68 PageID #:
                                                     35449

*CITY                Hershey
*STATE
(Required for U.S.   Pennsylvania
applicants)

*COUNTRY             United States
*ZIP/POSTAL CODE     17033
PHONE                717-534-7911
FAX                  717-534-7549
*EMAIL ADDRESS       lduquette@hersheys.com
*AUTHORIZED TO
COMMUNICATE          Yes
VIA EMAIL

FEE INFORMATION
NUMBER OF
                     1
CLASSES

FEE PER CLASS        275
*TOTAL FEE PAID      275
SIGNATURE INFORMATION
* SIGNATURE          /Lois B. Duquette/
* SIGNATORY'S
                     Lois B. Duquette
NAME

* SIGNATORY'S
                     Assistant Secretary and Attorney of Record, PA State Bar Member
POSITION

* DATE SIGNED        08/20/2009




                                                                                                        119379
              Case 4:19-cv-00358-ALM              Document 789-4 Filed 03/26/25                         Page 64 of 68 PageID #:
                                                             35450
PTO Form 1478 (Rev 9/2006)
OMB No. 0651-0009 (Exp 12/31/2011)




                                     Trademark/Service Mark Application, Principal Register

                                                           TEAS Plus Application

                                                            Serial Number: 77809223
                                                            Filing Date: 08/20/2009
To the Commissioner for Trademarks:

MARK: (Stylized and/or Design, see mark)
The applicant is not claiming color as a feature of the mark. The mark consists of twelve (12) equally-sized recessed rectangular panels arranged
in a four panel by three panel format with each panel having its own raised border within a large rectangle.
The applicant, Hershey Chocolate & Confectionery Corporation, a corporation of Delaware, having an address of
    4860 Robb Street, Suite 204
    Wheat Ridge, Colorado 80033
    United States
requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

For specific filing basis information for each item, you must view the display within the Input Table.
    International Class 030: Candy; Chocolate

Use in Commerce: The applicant is using the mark in commerce, or the applicant's related company or licensee is using the mark in commerce, or
the applicant's predecessor in interest used the mark in commerce, on or in connection with the identified goods and/or services. 15 U.S.C.
Section 1051(a), as amended.

In International Class 030, the mark was first used at least as early as 12/31/1968, and first used in commerce at least as early as 12/31/1968, and
is now in use in such commerce. The applicant is submitting one specimen(s) showing the mark as used in commerce on or in connection with
any item in the class of listed goods and/or services, consisting of a(n) Digital photograph of actual product evidencing use of the mark.
Specimen File1


The mark has become distinctive of the goods/services, as demonstrated by the attached evidence.
 The applicant submits the following evidence to support the §2(f) claim:

Original PDF file:
e2f-168133239-150552750_._HERSHEY_S_MC_BAR_PRODUCT_CONFIGURATION_EVIDENCE.pdf
Converted PDF file(s) (1 page)
2(f) evidence-1

The mark has become distinctive of the goods/services through the applicant's substantially exclusive and continuous use in commerce for at least
the five years immediately before the date of this statement.

The applicant claims ownership of U.S. Registration Number(s) 3668662.



The applicant's current Correspondence Information:
   Lois B. Duquette
   The Hershey Company
   100 Crystal A Drive
   Hershey, Pennsylvania 17033
   717-534-7911(phone)
   717-534-7549(fax)
   lduquette@hersheys.com (authorized)


                                                                                                                                  119380
         Case 4:19-cv-00358-ALM                    Document 789-4 Filed 03/26/25                         Page 65 of 68 PageID #:
                                                              35451

A fee payment in the amount of $275 has been submitted with the application, representing payment for 1 class(es).

                                                                    Declaration

The undersigned, being hereby warned that willful false statements and the like so made are punishable by fine or imprisonment, or both, under
18 U.S.C. Section 1001, and that such willful false statements, and the like, may jeopardize the validity of the application or any resulting
registration, declares that he/she is properly authorized to execute this application on behalf of the applicant; he/she believes the applicant to be
the owner of the trademark/service mark sought to be registered, or, if the application is being filed under 15 U.S.C. Section 1051(b), he/she
believes applicant to be entitled to use such mark in commerce; to the best of his/her knowledge and belief no other person, firm, corporation, or
association has the right to use the mark in commerce, either in the identical form thereof or in such near resemblance thereto as to be likely,
when used on or in connection with the goods/services of such other person, to cause confusion, or to cause mistake, or to deceive; and that all
statements made of his/her own knowledge are true; and that all statements made on information and belief are believed to be true.


Signature: /Lois B. Duquette/ Date Signed: 08/20/2009
Signatory's Name: Lois B. Duquette
Signatory's Position: Assistant Secretary and Attorney of Record, PA State Bar Member



RAM Sale Number: 1667
RAM Accounting Date: 08/21/2009

Serial Number: 77809223
Internet Transmission Date: Thu Aug 20 15:38:52 EDT 2009
TEAS Stamp: USPTO/FTK-XXX.XXX.X.XX-20090820153852249
344-77809223-400ec64e634998d83d1cc717a4e
f644e0-CC-1667-20090820150552750610




                                                                                                                                   119381
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 66 of 68 PageID #:
                                    35452




                                                                          119382
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 67 of 68 PageID #:
                                    35453




                                                                          119383
Case 4:19-cv-00358-ALM   Document 789-4 Filed 03/26/25   Page 68 of 68 PageID #:
                                    35454




                                                                          119384
